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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                         :       Chapter 11
                                                          :
iPic-Gold Class Entertainment, LLC                        :       Case No. 19-11739 (LSS)
                                                          :
                                                          :       Jointly Administered
                                                          :       NOTICE OF APPOINTMENT OF
          Debtor(s).                                      :       COMMITTEE OF UNSECURED
----------------------------------                        :       CREDITORS



       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 Mary Ryan, Class Action Representative, Attn: KJT Law Group, LLP, 230 North
                   Maryland Avenue, Suite 306, Glendale, CA 91206-4281, Phone: 818-507-8525; Fax: 818-
                   507-8588

2.                 Superl Sequoia Limited, Attn: Philippe Hum, Unit 612, 6/F Tower 1, 833 Cheung Sha
                   Wan Road, Kowloon, Hong Kong, Phone: 852-3104-3000

3.                 SDQ Fee, LLC, Attn: Stephen Ifeduba, 180 East Broad Street, Columbus, OH 43215,
                   Phone: 614-887-5625, Fax: 614-621-8863

4.                 Regency Centers, L.P., Attn: Ernst Bell, One Independent Drive, Suite 114, Jacksonville,
                   FL 32202, Phone: 904-598-7685, Fax: 904-354-6094

5.                 Brookfield Property REIT, Inc., Attn: Julie Minnick Bowden, 350 N. Orleans St., Suite
                   300, Chicago, IL 60654, Phone: 312-960-2707; Fax: 312-442-6374




                                                  ANDREW R. VARA
                                                  Acting United States Trustee, Region 3


                                                  /s/ Benjamin Hackman for
                                                  T. PATRICK TINKER
                                                  ASSISTANT UNITED STATES TRUSTEE

DATED: August 14, 2019

Attorney assigned to this Case: Benjamin Hackman, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ proposed counsel: Peter Keane, Esq., Phone: 302-652-4100, Fax: 302-652-4400
